        Case 1:06-cr-00269-DAD Document 96 Filed 05/28/15 Page 1 of 3


1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    DAVID M. PORTER, Bar #127024
     Assistant Federal Defender
3    Counsel Designated for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
6    Attorneys for Defendant
     MANUEL BURCIAGA
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. F 06-269 LJO
12                             Plaintiff,                STIPULATED MOTION AND [lodged] ORDER
                                                         TO REDUCE SENTENCE PURSUANT TO 18
13             v.                                        U.S.C. § 3582(c)(2)
14   MANUEL BURCIAGA,                                    RETROACTIVE DRUGS-MINUS-TWO
                                                         REDUCTION CASE
15                             Defendant.
                                                         Judge: Honorable LAWRENCE J. O’NEILL
16
17             Defendant, MANUEL BURCIAGA, by and through his attorney, Assistant Federal
18   Defender David M. Porter, and plaintiff, UNITED STATES OF AMERICA, by and through its
19   counsel, Assistant U.S. Attorney Kathleen A. Servatius, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On May 19, 2008, this Court sentenced Mr. Burciaga to 84 months on Count 2,

25   for a violation of 21 U.S.C. §§ 841(a)(1) and 846, and 60 months on Count 3, for a violation of

26   18 U.S.C. § 924(c), to be served consecutively, for a total term of 144 months imprisonment;

27             3.         His total offense level as to Count 2 was 25, his criminal history category was IV,

28   and the resulting guideline range was 84-105 months;

     Stipulation and Order Re: Sentence Reduction          1
        Case 1:06-cr-00269-DAD Document 96 Filed 05/28/15 Page 2 of 3


1              4.         The sentencing range applicable to Mr. Burciaga was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Burciaga’s total offense level has been reduced from 25 to 23, and his
5    amended guideline range as to Count 2 is 70 to 87 months;
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Mr. Burciaga’s term of imprisonment to a total term of 130 months.
8    Respectfully submitted,
9    Dated: May 27, 2015                                Dated: May 27, 2015
10   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
11
12   /s/ Kathleeen A. Servatius                         /s/ David M. Porter
     KATHLEEN A. SERVATIUS                              DAVID M. PORTER
13   Assistant U.S. Attorney                            Assistant Federal Defender
14   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           MANUEL BURCIAGA
15
16                                                     ORDER
17             This matter came before the Court on the stipulated motion of the defendant for reduction
18   of sentence pursuant to 18 U.S.C. § 3582(c)(2).
19             The parties agree, and the Court finds, that Mr. Burciaga is entitled to the benefit
20   Amendment 782, which reduces the total offense level from 25 to 23, resulting in an amended
21   guideline range of 70 to 87 months.
22             IT IS HEREBY ORDERED that the term of imprisonment imposed in May 2008 is
23   reduced to a term of 70 months on Count 2 and 60 months on Count 3, to be served
24   consecutively, for a total term of 130 months imprisonment.
25             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
26   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
27   reduction in sentence, and shall serve certified copies of the amended judgment on the United
28   States Bureau of Prisons and the United States Probation Office.

     Stipulation and Order Re: Sentence Reduction          2
        Case 1:06-cr-00269-DAD Document 96 Filed 05/28/15 Page 3 of 3


1              Unless otherwise ordered, Mr. Burciaga shall report to the United States Probation Office
2    within seventy-two hours after his release.
3
     IT IS SO ORDERED.
4
5         Dated:         May 28, 2015                         /s/ Lawrence J. O’Neill
                                                           UNITED STATES DISTRICT JUDGE
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     Stipulation and Order Re: Sentence Reduction      3
